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                                   8                                     UNITED STATES DISTRICT COURT

                                   9                                    NORTHERN DISTRICT OF CALIFORNIA

                                  10                                            SAN FRANCISCO DIVISION

                                  11     EDUARDO I.T., et al.,
                                                                                            Case No. 22-cv-05333-DMR (LB)
                                  12                      Plaintiffs,
Northern District of California
 United States District Court




                                  13              v.                                        NOTICE AND ORDER REGARDING
                                                                                            SETTLEMENT CONFERENCE
                                  14     UNITED STATES OF AMERICA,
                                  15                      Defendant.

                                  16

                                  17   TO ALL PARTIES AND COUNSEL OF RECORD:

                                  18       This case was referred to Magistrate Judge Laurel Beeler for a settlement conference.

                                  19   A. Time and Location of Settlement Conference

                                  20       The court sets a settlement conference on Tuesday, February 11, 2025, at 10:00 A.M., to be

                                  21   held via Zoom meeting. If the parties and counsel are not available on that date, or if they believe

                                  22   that a settlement conference would be more productive at a different time, counsel must contact

                                  23   this court's courtroom deputy within a week at 415-522-3140. The parties also may arrange a

                                  24   conference call if it would help resolve scheduling or other impediments.

                                  25   B. Meet-and-Confer For Settlement Conferences Conducted Before Discovery Cut-Off

                                  26      If the settlement conference is before the discovery cut-off deadline set by the trial judge,

                                  27   counsel must confer in person or by telephone no later than 21 days before the settlement

                                  28   conference and before preparing their settlement-conference statements. The purpose of the

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                                   1   meeting is to identify and exchange whatever discovery is needed for all sides to evaluate the case

                                   2   for settlement. Counsel must cooperate in providing discovery informally and expeditiously.

                                   3   C. Participants

                                   4      Lead trial counsel must attend the settlement conference with the parties and with the persons

                                   5   having full authority to negotiate and settle the case.

                                   6      1. Corporation or Other Non-Government Entity. A party other than a natural person (such

                                   7   as a corporation or association) satisfies the attendance requirement if represented by a person

                                   8   (other than outside counsel) who has final authority to settle up to the full amount of the opposing

                                   9   party’s existing settlement demand or offer and who is knowledgeable about the facts of the case.

                                  10   If the authority to settle is vested only in a governing board, claims committee, or equivalent body

                                  11   and cannot be delegated, a party must comply with the requirements of Northern District of

                                  12   California ADR Local Rule 7-4(a) and must designate a person with authority to participate in the
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                                  13   settlement conference and, if a tentative settlement agreement is reached, to recommend the

                                  14   agreement to the approving body for its approval.

                                  15      2. Government Entity. A party that is a government entity satisfies the attendance

                                  16   requirement if represented by a person (in addition to counsel of record) who (a) has, to the

                                  17   greatest extent feasible, authority to settle, (b) is knowledgeable about the facts of the case, the

                                  18   government entity’s position, and the positions and policies under which the government entity

                                  19   decides whether to accept proposed settlements, and (c) has the authority, if a tentative settlement

                                  20   agreement is reached, to recommend the agreement to the government entity for its approval. See

                                  21   N.D. Cal. ADR Local R. 7-4(b). If the action is brought by the government on behalf of one or

                                  22   more individuals, at least one such individual also must attend. See id.

                                  23      3. Insured Party. An insured party must appear with a representative of the carrier with full

                                  24   authority to negotiate up to the limits of coverage.

                                  25      4. Personal Attendance By Counsel and Parties. Personal attendance by counsel will not be

                                  26   excused. Personal attendance of a party representative rarely will be excused and then only on a

                                  27   written request made at least two weeks before the conference demonstrating that attendance

                                  28   would constitute an extraordinary or unjustified hardship. A copy of the written request must be

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                                   1   served on all other parties. Any objection to the request must be submitted within 48 hours. If

                                   2   telephone attendance is allowed, the party must be available throughout the entire conference.

                                   3   D. Settlement-Conference Statements

                                   4      No later than seven days before the settlement conference (or fourteen days for cases involving

                                   5   four or more separately represented parties), each party must lodge (not e-file or file) one hard

                                   6   copy of the following settlement-conference statements. The parties must also email an electronic

                                   7   copy of their statements to lbpo@cand.uscourts.gov. Failure to submit timely settlement-

                                   8   conference statements may result in the court’s vacating the scheduled conference.

                                   9      1. “Exchanged Settlement-Conference Statement,” and

                                  10      2. “Additional Settlement Information” to be included either in the exchanged settlement-

                                  11   conference statement or in a separate confidential statement.

                                  12      Please print the documents double-sided and three-hole punch the documents at the left side.
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                                  13   The settlement-conference statements must be submitted to Judge Beeler, 450 Golden Gate

                                  14   Avenue, 16th Floor, San Francisco, CA 94102, in a sealed envelope addressed to Judge Beeler and

                                  15   prominently marked “SETTLEMENT CONFERENCE DOCUMENTS: DO NOT FILE.”

                                  16      1. Exchanged Settlement-Conference Statement

                                  17       The exchanged settlement-conference statement may be up to ten pages of text and twenty

                                  18   pages of exhibits. Counsel may identify other key documents that exceed the twenty-page limit,

                                  19   submit a list with an explanation of relevance, and ask to submit additional documents. (Generally,

                                  20   bringing them to the settlement conference is sufficient.) If there is video footage, the parties must

                                  21   confer and submit a joint exhibit with the relevant footage and must not submit separate versions.

                                  22       Counsel must serve the exchanged statement on all parties and generally must share with their

                                  23   clients the exchanged statement received from opposing counsel. The statement may include any

                                  24   information that may be useful and must include the following:

                                  25       a. Substance of the Suit. Describe briefly the substance of the suit, including the following:

                                  26           i. The facts giving rise to the case.

                                  27           ii. The claims and defenses, including the statutory or other grounds upon which the

                                  28   claims are founded.

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                                   1           iii. A summary of the proceedings to date, including a list of the motions previously made,

                                   2   the dispositions, and any pending motions.

                                   3           iv. A statement of the facts not reasonably in dispute.

                                   4           v. A list of the key facts in dispute and the specific evidence relevant to a determination of

                                   5   those facts.

                                   6           vi. A brief statement of issues of law with respect to liability and damages. The statement

                                   7   must include cites to statutes and cases, but no extended legal argument is necessary.

                                   8       b. Relief Sought. A statement of the relief sought, including an itemization of damages and

                                   9   any non-monetary relief sought.

                                  10       c. Settlement Discussions/Demand and Response Required. Except to the extent prohibited by

                                  11   applicable rules of privilege, describe the history and current status of any settlement negotiations,

                                  12   including the parties’ positions on settlement (including present demands and offers), a summary
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                                  13   of past settlement discussions, and a current reasonable proposal of settlement. There must be a

                                  14   current demand and response made before the settlement conference, and those must be in the

                                  15   settlement-conference statements. If there have been no prior settlement discussions or demands,

                                  16   the plaintiff must serve a demand on the defendant in writing no later than fourteen days before

                                  17   the conference, outlining its theories for recovery, the supporting facts, and damages. The plaintiff

                                  18   must include its demand in its exchanged settlement-conference statement. The defendant must

                                  19   include its response to the demand in its exchanged settlement-conference statement.

                                  20       d. Persons Attending Conference. For each party, a list of names, titles, and positions of

                                  21   persons who will attend the conference. This list does not count toward the ten-page limit. This

                                  22   section must identify by name, title or status, the following persons: (i) the person(s) with

                                  23   decision-making authority who, in addition to counsel, will attend the settlement conference as a

                                  24   representative of the party, and (ii) the person(s) connected with a party opponent (including an

                                  25   insurer representative) whose presence might substantially improve the prospects for settlement.

                                  26      2. Additional Settlement Information

                                  27     The parties must submit the additional information listed below either in the exchanged

                                  28   statement or in a separate confidential statement that is not served on the other parties. The page

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                                   1   limits for the additional information are five pages of text and five pages of exhibits.

                                   2     a. Litigation Costs. A statement of litigation costs and attorney’s fees to date and estimated

                                   3   costs, fees, and time projected for further discovery, pretrial proceedings, and trial.

                                   4     b. Settlement Analysis of the key liability issues and damages, including a candid evaluation of

                                   5   the strengths, weaknesses, and uncertainties of the case (factual and legal).

                                   6     c. Additional Information. Include any information about other needs, interests, or

                                   7   considerations that might be pertinent to settlement. That information might include the following:

                                   8           i. What needs of your client must be met for the parties to reach a settlement?

                                   9           ii. What needs of the opposing party must be met to reach a settlement?

                                  10           iii. What do you see as the obstacles to a settlement, and what ideas do you have to

                                  11   overcome them?

                                  12           iv. Do you have enough information to discuss settlement, and if not, what additional
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                                  13   information is needed?

                                  14           v. What are the consequences to each side if no settlement is reached?

                                  15   E. Settlement Conference

                                  16      Settlement conferences regularly last three or more hours.

                                  17   F. Continuances

                                  18      The parties must jointly file any request for continuance, review the court’s calendar at

                                  19   http://www.cand.uscourts.gov/CAND/Calendar.nsf, and propose new dates or set a scheduling call

                                  20   if they cannot find new dates easily.

                                  21   G. Additional Requirements

                                  22      Counsel must provide a copy of this order to all participating parties. Counsel must review

                                  23   Northern District of California ADR Local Rule 7, available at http://www.adr.cand.uscourts.gov.

                                  24       IT IS SO ORDERED.

                                  25       Dated: June 26, 2023                       ______________________________________
                                                                                      LAUREL BEELER
                                  26                                                  United States Magistrate Judge
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